            Case 1-10-46319-jbr                Doc 15        Filed 10/15/10            Entered 10/16/10 00:33:36

Form BLdfnld7 (12/01/2007)

                                      United States Bankruptcy Court
                                              Eastern District of New York
                                           271 Cadman Plaza East, Suite 1595
                                               Brooklyn, NY 11201−1800

IN RE:                                                                                                 CASE NO: 1−10−46319−jbr
   Liz Rais
   41 Maujer Street
   Apt 2F
   Brooklyn, NY 11206
   Name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address.
Social Security/Individual Taxpayer ID/Taxpayer ID/Employer ID No.:                                               CHAPTER: 7
   xxx−xx−4140
                         DEBTOR(s)




                                            DISCHARGE OF DEBTOR(S)
                                            ORDER OF FINAL DECREE

A petition under title 11, United States Code was filed by or against the Debtor(s) on July 2, 2010; an order for
relief was entered under Chapter 7; no order denying a discharge has been granted.

It appearing that the debtor(s) is entitled to a discharge and the estate of the above named debtor(s) has been fully
administered.


IT IS ORDERED:


      • The debtor(s) is granted a discharge under Section 727 of Title 11, United States Code, (the Bankruptcy
        Code).
      • Richard E. O'Connell (Trustee) is discharged as trustee of the estate of the above−named debtor(s) and the
        bond is cancelled.

      • The Chapter 7 case of the above−named debtor(s) is closed.



                                                                     BY THE COURT

Dated: October 13, 2010                                              s/ Joel B. Rosenthal
                                                                     United States Bankruptcy Judge



                    SEE THE BACK OF THIS ORDER FOR IMPORTANT INFORMATION.
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                                 EXPLANATION OF BANKRUPTCY DISCHARGE
                                          IN A CHAPTER 7 CASE

       This court order grants a discharge to the person(s) named as the debtor(s). It is not a dismissal of the case and
it does not determine how much money, if any, the trustee will pay to creditors.

Collection of Discharged Debts Prohibited

       The discharge prohibits any attempt to collect from the debtor(s) a debt that has been discharged. For example,
a creditor is not permitted to contact a debtor by mail, phone, or otherwise, to file or continue a lawsuit, to attach
wages or other property, or to take any other action to collect a discharged debt from the debtor(s). A creditor who
violates this order can be required to pay damages and attorney's fees to the debtor.

      However, a creditor may have the right to enforce a valid lien, such as a mortgage or security interest, against
the debtor's property after the bankruptcy, if that lien was not avoided or eliminated in the bankruptcy case. Also, a
debtor may voluntarily pay any debt that has been discharged.
Debts That are Discharged
       The chapter 7 discharge order eliminates a debtor's legal obligation to pay a debt that is discharged. Most, but
not all, types of debts are discharged if the debt existed on the date the bankruptcy case was filed. (If this case was
begun under a different chapter of the Bankruptcy Code and converted to chapter 7, the discharge applies to debts
owed when the bankruptcy case was converted.)

Debts that are Not Discharged.

      Some of the common types of debts which are not discharged in a chapter 7 bankruptcy case are:

      a. Debts for most taxes;

      b. Debts incurred to pay nondischargeable taxes (in a case filed on or after October 17, 2005);

      c. Debts that are domestic support obligations;

      d. Debts for most student loans;

      e. Debts for most fines, penalties, forfeitures, or criminal restitution obligations;

      f. Debts for personal injuries or death caused by the debtor's operation of a motor vehicle, vessel, or aircraft
      while intoxicated;

      g. Some debts which were not properly listed by the debtor;

      h. Debts that the bankruptcy court specifically has decided or will decide in this bankruptcy case are not
      discharged;

      i. Debts for which the debtor has given up the discharge protections by signing a reaffirmation agreement in
      compliance with the Bankruptcy Code requirements for reaffirmation of debts;
      j. Debts owed to certain pension, profit sharing, stock bonus, other retirement plans, or to the Thrift Savings
      Plan for federal employees for certain types of loans from these plans (in a case filed on or after October 17,
      2005).



       This information is only a general summary of the bankruptcy discharge. There are exceptions to these
general rules. Because the law is complicated, you may want to consult an attorney to determine the exact
effect of the discharge in this case.
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                                CERTIFICATE OF NOTICE
 District/off: 0207-1                  User: ggriffith                    Page 1 of 1                          Date Rcvd: Oct 13, 2010
 Case: 10-46319                        Form ID: 262                       Total Noticed: 24

 The following entities were noticed by first class mail on Oct 15, 2010.
 db           +Liz Rais,    41 Maujer Street,    Apt 2F,   Brooklyn, NY 11206-1001
 smg          +NYC Department of Finance,     345 Adams Street, 3rd Floor,     Attn: Legal Affairs - Devora Cohn,
                Brooklyn, NY 11201-3719
 smg          +NYS Department of Taxation & Finance,     Bankruptcy Unit,    PO Box 5300,    Albany, NY 12205-0300
 smg          +NYS Unemployment Insurance,     Attn: Insolvency Unit,    Bldg. #12, Room 256,
                Albany, NY 12240-0001
 smg          +United States Trustee,    Office of the United States Trustee,      271 Cadman Plaza East,
                Brooklyn, NY 11201-1833
 6786531       BIMC Clinical Laboratory,    PO Box 95000-2469,     Philadelphia, PA 19195-2469
 6786530      +Bank Of America,    210 East Trade Street,    Charlotte, NC 28202-2404
 6786532      +Bloomingdale’s,    C/O Northland Group Inc.,     PO Box 390846,    Minneapolis, MN 55439-0846
 6786533      +CBNA,   200 Creekside Drive,     Dickson, TN 37055-2176
 6786534      +Cesar Rais,    624 Glen Cove Road,    Geln Head, NY 11545-1927
 6786536      +Cigna,    Connecticut General,    PO Box 55270,    Phoenix, AZ 85078-5270
 6786539       Granite Student Loan,    PO Box 877,    Concord, NH 03302-0877
 6786540       Homeq Servicing,    PO Box 70830,    Charlotte, NC 28272-0830
 6786541      +Johnson & Wales,    8 Abbott Park Place,    Providence, RI 02903-3775
 6786542      +Maria Elena Rais,    624 Glen Cove Road,    Glen Head, NY 11545-1927
 6786543       Nel Net Student Loan Financing,     PO Box 2877,    Omaha, NE 68103-2877
 6786544      +Nora Sanchez,    624 Glen Cove Road,    Glen Head, NY 11545-1927
 6786546      +North Shore University Hospital,     PO Box 4317,    Manhasset, NY 11030-4317
 6786545      +North Shore University Hospital,     PO Box 27683,    New York, NY 10087-7683
 6786547      +North Shore-LIJ,    Chin Muy MD #15,    PO Box 5200,    Manhasset, NY 11030-5200
 The following entities were noticed by electronic transmission on Oct 13, 2010.
 6786529       EDI: BANKAMER.COM Oct 13 2010 15:38:00     Bank Of America,    PO Box 15019,
                Wilmington, DE 19886-5019
 6786535       EDI: CHASE.COM Oct 13 2010 15:38:00     Chase,   PO Box 15153,    Wilmington, DE 19886-5153
 6786538       EDI: TSYS2.COM Oct 13 2010 15:38:00     DSNB Bloomingdales,    PO Box 183083,
                Columbus, OH 43218-3083
 6786537       EDI: DISCOVER.COM Oct 13 2010 15:38:00     Discover Card,   PO Box 6103,
                Carol Stream, IL 60197-6103
                                                                                              TOTAL: 4
               ***** BYPASSED RECIPIENTS *****
 NONE.                                                                                                               TOTAL: 0
 Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
 USPS regulations require that automation-compatible mail display the correct ZIP.




I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.

Meeting of Creditor Notices only (Official Form 9): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social Security
Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required by the
bankruptcy rules and the Judiciary’s privacy policies.




Date: Oct 15, 2010                                       Signature:
